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             EXHIBIT 47
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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MASSACHUSETTS



MODERNATX, INC. and MODERNA US, INC.,

                             Plaintiffs,
                     v.                               Case No. 1:22-cv-11378-RGS

PFIZER INC., BIONTECH SE, BIONTECH
MANUFACTURING GMBH, and BIONTECH US
INC.,

                             Defendants.



      DECLARATION OF YOUNG PARK IN SUPPORT OF BIONTECH’S
     OPPOSITION TO MODERNA’S MOTION TO COMPEL PRODUCTION
   OF DOCUMENTS OVER WHICH BIONTECH HAS ASSERTED PRIVILEGE

I, Young J. Park, hereby declare:

          1.   I am a partner at the law firm Paul Hastings LLP, counsel for Defendants

BioNTech SE, BioNTech Manufacturing GmbH, and BioNTech US Inc. (together,

“BioNTech”) in this matter.      I have personal knowledge of the facts contained in the

declaration and, if called upon to do so, I could and would testify competently to the matters

herein.

          2.   Attached hereto as Exhibit 1 is a true and correct copy of a document produced

by BioNTech bearing the Bates number BNT_COMIR_1024901 – 1024903.

          3.   Attached hereto as Exhibit 2 is a true and correct copy of the Declaration of

                              , in Support of BioNTech’s Opposition to Moderna’s Motion to

Compel Production of Documents over Which BioNTech Has Asserted Privilege.

          4.   Attached hereto as Exhibit 3 is a true and correct copy of an email sent from

Counsel for Moderna to Counsel for BioNTech and Pfizer on July 19, 2023, requesting that
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BioNTech and Pfizer immediately destroy certain documents produced by Moderna.

       5.      Attached hereto as Exhibit 4 is a true and correct copy of a letter sent from

Counsel for Moderna to Counsel for BioNTech and Pfizer on September 8, 2023, requesting

that BioNTech and Pfizer immediately destroy certain documents produced by Moderna.

       6.      Attached hereto as Exhibit 5 is a true and correct copy of a letter sent from

Counsel for Moderna to Counsel for BioNTech and Pfizer on October 2, 2023, requesting that

BioNTech and Pfizer immediately destroy certain documents produced by Moderna.

       7.      Attached hereto as Exhibit 6 is a true and correct copy of a letter sent from

Counsel for Moderna to Counsel for BioNTech and Pfizer on October 16, 2023, requesting

that BioNTech and Pfizer immediately destroy certain documents produced by Moderna.

       8.      Attached hereto as Exhibit 7 is a true and correct copy of a letter sent from

Counsel for Moderna to Counsel for BioNTech and Pfizer on October 30, 2023, requesting

that BioNTech and Pfizer immediately destroy certain documents produced by Moderna.

       9.      Attached hereto as Exhibit 8 is a true and correct copy of a letter sent from

Counsel for Moderna to Counsel for BioNTech and Pfizer on November 8, 2023, requesting

that BioNTech and Pfizer immediately destroy certain documents produced by Moderna.

       10.     Attached hereto as Exhibit 9 is a true and correct copy of a letter sent from

Counsel for Moderna to Counsel for BioNTech and Pfizer on November 9, 2023, requesting

that BioNTech and Pfizer immediately destroy certain documents produced by Moderna.

       11.     Attached hereto as Exhibit 10 is a true and correct copy of a letter sent from

Counsel for Moderna to Counsel for BioNTech and Pfizer on November 16, 2023, requesting

that BioNTech and Pfizer immediately destroy certain documents produced by Moderna.

       12.    Attached hereto as Exhibit 11 is a true and correct copy of a letter sent from
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Counsel for Moderna to Counsel for BioNTech and Pfizer on November 21, 2023, requesting

that BioNTech and Pfizer immediately destroy certain documents produced by Moderna.

        13.     Attached hereto as Exhibit 12 is a true and correct copy of a letter sent from

Counsel for Moderna to Counsel for BioNTech and Pfizer on November 30, 2023, requesting

that BioNTech and Pfizer immediately destroy certain documents produced by Moderna.

        14.     Attached hereto as Exhibit 13 is a true and correct copy of a letter sent from

Counsel for Moderna to Counsel for BioNTech and Pfizer on December 4, 2023, requesting

that BioNTech and Pfizer immediately destroy certain documents produced by Moderna.

        15.     Attached hereto as Exhibit 14 is a true and correct copy of an email sent from

Counsel for Moderna to Counsel for BioNTech and Pfizer on December 15, 2023, requesting

that BioNTech and Pfizer immediately destroy certain documents produced by Moderna.

        16.     Attached hereto as Exhibit 15 is a true and correct copy of an email sent from

Counsel for Moderna to Counsel for BioNTech and Pfizer on December 18, 2023, requesting

that BioNTech and Pfizer immediately destroy certain documents produced by Moderna.

        17.     Attached hereto as Exhibit 16 is a true and correct copy of an email sent from

Counsel for Moderna to Counsel for BioNTech and Pfizer on December 20, 2023, requesting

that BioNTech and Pfizer immediately destroy certain documents produced by Moderna.

        18.     Attached hereto as Exhibit 17 is a true and correct copy of an email sent from

Counsel for Moderna to Counsel for BioNTech and Pfizer on January 17, 2024, requesting

that BioNTech and Pfizer immediately destroy certain documents produced by Moderna.

        19.     Attached hereto as Exhibit 18 is a true and correct excerpted copy of the

transcript of                    deposition conducted on January 26, 2024.

        20.     Attached hereto as Exhibit 19 is a true and correct excerpted copy of the
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transcript of                      deposition conducted on January 23, 2024.

        21.     Attached hereto as Exhibit 20 is a true and correct excerpted copy of

Moderna’s First Common Request for Production No. 60.

        22.     Attached hereto as Exhibit 21 is a true and correct excerpted copy of the

transcript of                     deposition conducted on December 6, 2023.

        I declare under penalty of perjury that the foregoing is true and correct. Executed

this 2nd day of February 2024, in New York, NY.


                                                             /s/ Young J. Park
                                                              Young J. Park
                                                              Partner
                                                              Paul Hastings LLP
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                                     CERTIFICATE OF SERVICE


        I, Gregory M. Boucher, hereby certify that on February 2, 2024 I caused the foregoing motion to

be electronically filed with the Clerk of the Court via email pursuant to the Court’s February 2, 2024

Order (Dkt. 214) granting Defendants’ Motion to Seal (Dkt. 213), and I simultaneously served

notice of such filing to all counsel of record to their registered electronic mail addresses.



                                            /s/ Gregory M. Boucher
                                            Gregory M. Boucher (BBO# 665212)
